Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 1 of 41 PageID: 1



Jonathan Shub (Attorney I.D. #3784)
KOHN, SWIFT & GRAF, P.C.
1600 Market Street
Suite 2500
Philadelphia, PA 19103
Tel: (215) 238-1700
Fax: (215) 238-1968
Email: jshub@kohnswift.com

Attorneys for Plaintiff and the Class
[Additional counsel on signature page]


                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

 DIANA HALL, individually and on behalf of
 others similarly situated,                          Civil Case No.:______________________

        Plaintiff,
 vs.
                                                      CLASS ACTION
 DEVA CONCEPTS, LLC, d/b/a DevaCurl,
                                                     JURY TRIAL DEMANDED
        Defendant.




                               CLASS ACTION COMPLAINT

       Plaintiff, Diana Hall (“Plaintiff”), brings this Class Action Complaint against Defendant

Deva Concepts, LLC d/b/a “DevaCurl” (“Defendant”), individually and on behalf of all others

similarly situated, and complains and alleges upon personal knowledge as to herself and her own

acts and experiences and, as to all other matters, upon information and belief, including

investigation conducted by her attorneys:




                                            Page 1 of 41
    Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 2 of 41 PageID: 2



                                  NATURE OF THE ACTION

         1.    This is a civil class action brought by Plaintiff on behalf of consumers who

purchased Defendant’s “DevaCurl No-Poo Original” non-lathering conditioning cleanser (the

“No-Poo Product”), DevaCurl One Condition® Original hair-conditioner, DevaCurl Light

Defining Gel, DevaCurl Low-Poo Original cleanser, DevaCurl Low-Poo Delight cleanser,

DevaCurl No-Poo Decadence cleanser, DevaCurl One Condition® Delight hair-conditioner,

DevaCurl One Condition® Decadence hair-conditioner, Melt into Moisture Mask, Styling Cream,

DevaCurl Leave-In Decadence conditioner, Super Stretch Coconut Curl Elongator, Wavemaker,

and DevaCurl Ultra Defining Gel (collectively “the Products”) which are used for personal

cosmetic purposes. Plaintiff seeks damages and equitable remedies for herself and for the Class

(defined below).

         2.    Defendant formulates, manufactures, advertises, and sells the Products to

consumers throughout the United States, including in the State of New Jersey.

         3.    In 2002, Defendant rose to prominence when it created and developed the formula

for the DevaCurl No-Poo Original, i.e., the No-Poo Product, which is marketed as containing no

sulfate, and is also marketed as an “innovative new haircare category” and a “game-changing

alternative to traditional shampoo.”1

         4.    Defendant further markets the No-Poo Product as a “first-of-its-kind, no-suds

conditioning cleanser” that is “free of sulfates, parabens, and silicones” and that is used “to gently

cleanse curls without stripping the natural oils they need to look healthy, bouncy and simply

gorgeous.”2




1
 https://www.devacurl.com/us/curl-101/our-story
2
  Id.
                                            Page 2 of 41
    Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 3 of 41 PageID: 3



         5.     One of the founders of DevaCurl was quoted as saying that the No-Poo Product

“allows your scalp to regulate, and your hair to become more what nature intended.”3

         6.     Consumers purchase Defendant’s No-Poo Product because it does not contain

sulfate, and because of Defendant’s marketing, which claims that the No-Poo Product “allows your

scalp to regulate, and your hair to become more of what nature intended.”4

         7.     Consumers seek out the No-Poo Product because it provides maximum frizz

prevention and slows color fading.5

         8.     Defendant and publications have suggested that those with curly hair should not

use shampoo because it dries out peoples’ curls when their hair is being washed.6

         9.     The No-Poo Product was touted as the answer to this age-old issue and does not

contain lather, or any of the sulfates found in shampoos that dry out curls.7

         10.    DevaCurl’s No-Poo Product has been deemed (by Defendant) the shampoo that still

moisturizes and is made with a peppermint scent.8

         11.    Many have used the No-Poo Product as a complete shampoo replacement once or

twice a week to cleanse hair rather than using traditional shampoo.9

         12.    Therefore, consumers seeking a complete alternative to traditional shampoo end up

purchasing the No-Poo Product.




3
   https://www.nytimes.com/2010/09/30/fashion/30Skin.html (last visited January 13, 2020).
4
   Id.
5
  https://www.amazon.com/gp/product/B0030LF1KA?pf_rd_p=ab873d20-a0ca-439b-ac45-
cd78f07a84d8&pf_rd_r=7JK77ENMJZXVFMJHKQWJ, (last visited January 13, 2020).
6
   http://nymag.com/strategist/article/best-curly-hair-products-review-devachan-no-poo-conditioner.html.
(last visited January 13, 2020).
7
   Id.
8
   Id.
9
   https://www.glamour.com/gallery/best-curly-hair-products, (last visited January 13, 2020).
                                              Page 3 of 41
 Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 4 of 41 PageID: 4



        13.    Since the creation of the No-Poo Product, Defendant has formulated, manufactured,

marketed and sold many accompanying products for the same purposes to consumers in this

District and across the country.

        14.    Consumers pay a premium over the cost of traditional retail and salon shampoos

for Defendant’s Products, based upon the representations above.

        15.    However, despite the “DevaCurl phenomenon” that has caused many curly haired

consumers across the United States to purchase and use the Products, use of the Products cause

scalp irritation, excessive shedding, hair loss, thinning, breakage, and/or balding during normal

use by consumers.

        16.    Indeed, thousands of consumers have reported their hair failing out shortly after or

during actual use of the Products.

        17.    Defendant provides no warning about these consequences, and in fact makes

numerous assertions about the gentle and beneficial nature of the Products.          For example,

Defendant’s website makes statements relating to its No-Poo Product such as “[t]raditional

shampoo can be too harsh for curls. That’s why we made No-Poo Original! The non-lathering

formula with peppermint and grapeseed oil gently cleanses without stripping the natural oils your

curls need.”10 With regard to its One Condition® Original product, Defendant’s website states

“When it comes to curls, it’s all about condition, condition, condition. So apply, rinse and repeat

as often as needed!”11 These statements and others were and are false, deceptive, and misleading

and have harmed Plaintiff and the Class.

        18.    Disturbingly, Defendant appears to be aware of the issues with its Products but

conceals and fails to disclose that the Products cause hair loss and shedding, by intentionally


10
  https://www.devacurl.com/us/products/cleansers/no-poo-original/v/29767841742930
11
  https://www.devacurl.com/us/products/conditioners/one-condition-original/v/29778541346898
                                           Page 4 of 41
 Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 5 of 41 PageID: 5



blaming other risk factors such as giving birth, stress, scalp buildup, dandruff, losing weight,

certain illnesses, and more.12

        19.     Defendant conceals and fails to disclose the defective nature of its Products by

actively misleading consumers into believing that the hair loss and shedding caused by the

Products is “normal” and “common,” that even excessive shedding of over 100 strands of hair per

day is “common,” and that shedding is not preventable.13

        20.     Defendant unambiguously has knowledge of the hair loss and scalp irritation caused

by the Products. For example, Defendant has received multiple FDA complaints of hair loss and

scalp irritation beginning in February 2018. There have been hundreds of complaints posted on

social media sites like Facebook. Social media influencers have spread the word about the hair

loss and scalp irritation caused by Defendant’s Products. Major media outlets including the ABC

television affiliate in New York City have broken the story.14               Defendant has explicitly

acknowledged the reports of hair loss and scalp irritation associated with its products, going so far

as to post an explanatory statement on its website, prominently featured with a link entitled “a

message for our devas” in the top right corner of the website’s homepage.15

        21.     Despite notice and knowledge of the problems caused by the Products, Defendant

has not recalled the Products, has not provided any warnings of the known risks, has denied that

the Products cause the reported health issues, and has not offered its customers any compensation

for their damages.

        22.     Had Plaintiff and other Class members known that Defendant’s Products would

cause hair loss, scalp irritation and other problems, they would not have purchased the Products.


12
     https://www.devacurl.com/blog/hair-shedding-101/
13
    Id.
14
   https://abc7ny.com/health/customers-say-curly-styling-products-made-their-hair-fall-out/5906690/
15
    https://www.devacurl.com/us/deva-community-statement
                                             Page 5 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 6 of 41 PageID: 6



        23.      Plaintiff and each of the Class Members have been damaged and suffered an injury

in fact caused by the false, fraudulent, unfair, deceptive, and misleading practices as set forth

herein by Defendant and seek compensatory damages and injunctive relief.

        24.     Given the massive quantities of the Products sold all over the country, this class

action is the proper vehicle for addressing Defendant’s misconduct and for attaining needed relief

for those affected.

                                  JURISDICTION AND VENUE

        25.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1332 and 1367 because this is a class action in which the matter or controversy exceeds the sum

of $5,000,000, exclusive of interest and costs, and in which some members of the proposed Classes

are citizens of a state different from Defendant.

        26.     This Court has personal jurisdiction over Defendant because it transacts business

in the United States, including in this District, has substantial aggregate contacts with the United

States, including in this District, engaged in conduct that has and had a direct, substantial,

reasonably foreseeable, and intended effect of causing injury to persons throughout the United

States, and purposely availed itself of the laws of the United States.

        27.     In accordance with 28 U.S.C. § 1391, venue is proper in this District because a

substantial part of the conduct giving rise to Plaintiff’s claims occurred in this District, Defendant

transacts business in this District, and Plaintiff resides in this District.

                                               PARTIES

        28.     Plaintiff Diana Hall is a resident of Hackensack, New Jersey who has purchased

and used DevaCurl Products within the relevant time period. Plaintiff Hall experienced hair

thinning and hair damage after using DevaCurl Products.



                                              Page 6 of 41
 Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 7 of 41 PageID: 7



       29.     Defendant Deva Concepts LLC is incorporated in Delaware with its principal place

of business at 560 Broadway Suite 206 New York, NY 10012 United States.

                                  FACTUAL ALLEGATIONS

       30.     At all relevant times, Defendant has marketed the No-Poo Product (and related

Products) through national marketing and advertising campaigns as being “free of harsh

ingredients,” a complete replacement for traditional shampoo that creates healthy curly hair

without color fading, and as a “game-changing alternative to traditional shampoo.”16

       31.     On Defendant’s website, it gives a three-step process for using the No-Poo Product

and the DevaCurl One Condition® Original conditioner. Step one is “Wet curls and apply a

generous amount to your scalp, scrubbing it in. Remember it won’t lather, but it’s still working!”.17

       32.     For step two it states, “Rinse thoroughly by scrubbing your scalp and letting the

water move No-Poo Original through your ends.” 18

       33.     Step three states, “Follow with One Condition® Original for additional moisture.”19

       34.     However, despite using Defendant’s three step process, the No-Poo Product causes

users to sustain scalp irritation, hair loss, and/or balding during normal use. Users have hair fall

out in varying degrees during and immediately after use. The hair loss, scalp irritation and balding

suffered by Plaintiff and Class Members is embarrassing and can be extreme in certain instances.

       35.     The hair loss suffered by Plaintiff and Class Members is not limited to the No-Poo

Product. Indeed, many consumers, including Plaintiff, have experienced scalp irritation, hair loss




16
    https://www.devacurl.com/us/curl-101/product-philosophy
17
   https://www.devacurl.com/us/products/cleansers/no-poo-original/v/29767841742930 (last visited
January 22, 2019)
18
    Id.
19
   Id.
                                            Page 7 of 41
 Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 8 of 41 PageID: 8



or damage, “shedding” and/or “thinning” after using Defendant’s Products. Some users have had

hair fall out in “clumps” and have suffered extreme distress as a result.

       36.     Consumers of the Products pay a premium for them far and above what normal hair

care products cost. For example, Defendant’s No-Poo Product sells for $46.00 as compared to

similar retail products sold at Target for as little as $3.99,20 a difference of more than $42.

       37.     Consumers pay a premium for Defendant’s Products because of the benefits

Defendant claims they provide above and beyond normal hair care products. For example, in

respect to Defendant’s No-Poo Product, Defendant claims that the No-Poo Product is “Sulfate

Free,” that it is used to “gently cleanse,” that it is not “harsh” or made with “harsh ingredients,”

that it gives “your curls what they need and nothing they don't,” and that it comes with benefits

such as the ability to keep hair from drying out and maintain composure.

       38.     However, neither the product packaging nor any other advertising from Defendant

warns users that the Products cause scalp irritation, excessive shedding, hair loss, thinning,

breakage, and/or balding, or any related injury during normal use.

       39.     Similarly, nowhere on any of the packaging of the other of the Products does it state

that scalp irritation, excessive shedding, hair loss, thinning, breakage, and/or balding, or any

related hair injury occurs from normal use of the Products.

       40.     With regard to its One Condition® Original product, at all relevant times,

Defendant has marketed this product through national marketing and advertising campaigns as a




20
  Compare https://www.sephora.com/product/no-poo-P378324?skuId=1784578&om_mmc=ppc-
GG_1918213323_70847768576_pla-
419288853760_1784578_353573794076_9021734_c&country_switch=us&lang=en&gclsrc=aw.ds&ds_r
l=1261471&gclid=EAIaIQobChMItJr6jNG_5wIVRtbACh3WQw2KEAYYBCABEgLOjvD_BwE with
https://www.target.com/p/suave-professionals-2-in-1-shampoo-and-conditioner-32-fl-oz/-/A-75560945.
                                            Page 8 of 41
 Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 9 of 41 PageID: 9



premium product that is “free of harsh ingredients” and made with “nourishing, hydrating

ingredients.”

        41.     Defendant’s website states “When it comes to curls, it’s all about condition,

condition, condition. So apply, rinse and repeat as often as needed!”21

        42.     Incredibly, on Defendant’s website, Defendant claims that shedding of hair is

“normal”:

        If you have curly hair, chances are you’ve dealt with hair shedding. For most of
        us, it can be concerning when hair falls out on a daily basis, but it’s totally
        normal. But, what causes hair shedding? How much hair loss it too much? And,
        how can you prevent it? Today we’re here to give you the lowdown on everything
        you need to know about hair shedding.22

        43.     Defendant further explains hair loss is more prominent in curly-haired women

because “Sadly, shedding is more common with curly-haired gals because we don’t wash or brush

our hair as often as our straight hair counter parts.’23

        44.     Defendant further attributes shedding to “giving birth, stress, scalp buildup,

dandruff, losing weight, certain illnesses, and more.”24

        45.     Defendant states that “If you’re losing more than 100 strands of hair per day, you’re

dealing with excessive shedding, which is also fairly common.”25

        46.     Further, Defendant claims that shedding is not preventable. On its website it states:

        Can I prevent shedding?

        In short, not entirely. While you can lessen the amount of hairs that shed, you’ll
        never be able to completely stop shedding. See your hairstylist or dermatologist if
        you’re really concerned.26


21
   https://www.devacurl.com/us/products/conditioners/one-condition-original/v/29778541346898
22
    https://www.devacurl.com/blog/hair-shedding-101/ (last visited January 22, 2019).
23
    Id.
24
    Id.
25
    Id.
26
    Id.
                                             Page 9 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 10 of 41 PageID: 10



           47.    Defendant further includes a list of recommendations to lessen shedding.

None of the recommendations to reduce shedding include ceasing the use of the No-Poo

Product or any of the Products:

           How can I lessen the shedding?

           1.     Find the right cleanser and conditioner for your curl type. This ensures that
           your curls won’t dry out or be damaged which can lead to shedding.

           2.      Remove build up. Product build up and dandruff can block your roots and
           lead to shedding, so be sure to clarify and exfoliate.

           3.     Make sure to detangle your hair every time you finish washing your hair.
           Using a pre-poo (like Wash Day Wonder) before cleansing and finger detangling
           afterwards can make a world of difference.27

           48.    Above all, far from being the panacea promised by Defendant, the Products cause

scalp irritation, excessive shedding, hair loss, thinning, breakage, and/or balding. The hair loss is

not de minimis—consumers, who suffer hair loss often lose significant amounts of hair-and the

hair loss persists as long as the user uses the Products.

           49.    Many consumers who suffered scalp irritation, excessive shedding, hair loss,

thinning, breakage, and/or balding from the Products saw their symptoms stop by discontinuing

their use of the Products.

           50.    Every consumer who purchased the Products without the true facts about the

Products and disclosure of the inherent health risks prior to purchase was injured at the point of

sale when, instead of obtaining safe, natural, proven, guaranteed to promote hair growth,

strengthening, and conditioning cleanser, consumers obtained Defendant’s unreasonably

dangerous and defective Products. Consumers have been further injured by way of requiring




27
     Id.
                                             Page 10 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 11 of 41 PageID: 11



expensive professional hair treatment and medical treatment as a result of injuries caused by the

Products.

       51.     By marketing, selling and distributing the Products from New York to purchasers

throughout the United States, Defendant made actionable statements that the Products were free

of defects and safe and fit for their ordinary intended use and purpose.

       52.     By marketing, advertising, selling and distributing the Products from New York to

purchasers throughout the United States, Defendant made actionable statements that the ordinary

use of the Products would not involve undisclosed safety risks. Further, Defendant concealed what

they knew or should have known about the safety risks resulting from the material defects in the

Products.

       53.     Defendant engaged in the above-described actionable statements, omissions and

concealments with knowledge that the representations were false and/or misleading and likely to

mislead reasonable consumers. Alternatively, Defendant was reckless in not knowing that these

representations were false and misleading at the time they were made. Defendant had and has

exclusive access to data pertaining to the Products’ defect that Plaintiff and members of the

proposed Classes could not and did not have.

       54.     Therefore, Plaintiff, on behalf of herself and the Class, hereby brings this action for

violations of various state and/or federal laws.

         Defendant’s Misrepresentations and Omissions are Material to Consumers

       55.     Consumers seek out Defendant’s Products specifically for the benefits that

Defendant claims they provide: namely, to promote healthier hair than other traditional cleansers

and conditioners. Consumers purchase the Products due to Defendant’s claim they will not dry

out hair and maintain maximum color.



                                           Page 11 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 12 of 41 PageID: 12



        56.      Consumers also pay a premium for the Products over comparable hair products on

the market.

        57.      Defendant misleads consumers into thinking they purchased a premium product

with greater health benefits and even say that excessive shedding is common, normal and non-

preventable; however, users have revealed that in fact the Products cause hair loss, scalp irritation,

thinning, breakage, balding during normal use. Further, consumers have also shown that changing

from using the Products eliminates shedding.

        58.      Risk of hair loss, scalp irritation, thinning, breakage, or balding are material risks

to consumers.

        59.      Failing to include hair loss, scalp irritation, thinning, breakage, balding, on the

labeling, product packaging, and by misleading customers by stating that shedding is “normal,”

“common,” and “non-preventable” are material misrepresentations for consumers of the Products

at issue here.

        60.      Defendant further misleads consumers into thinking they can and should use

unlimited amounts of the Products, through statements such as ““When it comes to curls, it’s all

about condition, condition, condition. So apply, rinse and repeat as often as needed!”28

                                         Plaintiff Hall’s Experience

        61.      Plaintiff Diana Hall purchased the Products for two years from third-party retailers

and used the Products during that time.

        62.      Plaintiff Hall relied on the representations on the packaging, labeling and marketing

of the Products when deciding to purchase and use them.




28
  https://www.devacurl.com/us/products/conditioners/one-condition-original/v/29778541346898
                                            Page 12 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 13 of 41 PageID: 13



          63.     During the time she used the Products, Plaintiff Hall began to notice the problems

alleged herein. For instance, after use of the Products, Plaintiff Hall’s hair became thin and started

to fall out. Additionally, Plaintiff Hall experienced a loss in thickness and volume in her hair. She

further noticed damage to her hair as it became very dry, difficult to comb, and the curl pattern

disappeared.

          64.     Plaintiff is in the same Class as all other consumers who purchased Defendant’s

Products during the relevant time period. Plaintiff and Class Members purchased worthless

products that caused scalp irritation, hair loss, balding, or otherwise failed to perform as they were

intended, i.e., promoting healthy hair. Plaintiff and the Class Members were in fact misled by

Defendant’s omissions and misrepresentations in respect to the Product. Plaintiff and Class

Members would have purchased other hair care products if they had not been deceived by the

misleading and deceptive marketing and/or labeling of the Product.

                                     Additional Common Facts

          65.     Plaintiff’s experience is by no means isolated or an outlying occurrence. Indeed,

the internet is littered with stories of from other Class Members complaining of the same issues

with the Products as Plaintiff has alleged herein.

          66.     As reported by ABC News, stylist and author Stephanie Mero, who goes by the

handle 'thecurlninja' on social media, had been a longtime proponent of DevaCurl's Products, using

them to maximize her customers' natural curls in her salon and encouraging her thousands of

followers online to use them to help bring out their own curls.29




29
     https://abc7ny.com/5906690/.
                                            Page 13 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 14 of 41 PageID: 14



       67.     According to the report, Ms. Mero says that changed when she started to see

damage in her own hair. She eventually stopped using the Products and recommended that her

clients do the same.

     68.       Before and after photos show the damage that Defendant’s Products caused to Ms.

Mero’s hair:

Before:




                                        Page 14 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 15 of 41 PageID: 15



After:




         69.   As further reported, Ms. Mero went on to create a Facebook group for others who

believe DevaCurl is behind their hair damage. Currently, there are more than 35,000 members.

         70.   According to the report, Ms. Mero says she'll continue speaking out about the issue

until DevaCurl issues a recall and the FDA takes the issue more seriously.30

         71.   According to reports, Ms. Mero isn't alone. Another famous Youtuber with more

than 200,000 subscribers, posted her own video on January 31 where she speaks about her own

experience with Defendant’s products. See https://www.youtube.com/watch?v=nuo8UCcyDhg

(“Why I Stopped Using DevaCurl”).




30
  https://www.abcactionnews.com/news/national/florida-hairstylist-among-customers-claiming-devacurl-
products-caused-serious-damage
                                           Page 15 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 16 of 41 PageID: 16



       72.     According to reports, the YouTuber tells viewers to immediately stop using the

Products and apologizes for recommending them: "For the first time in my life I experienced

dandruff," Malik said. "My scalp was on fire on some days, I didn't know what it was."31

       73.     Similarly, a thread on Sephora originally posted in 2016 is now flooded with

comments from customers complaining about the products and looking for answers.32

       74.     The complaints are endless:




       75.     Additional online complaints-dating back several years, are documented below:

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on March, 20, 2016, updated on December 4, 2019: “I started using DevaCurl

No Poo and One Condition in early January and used it until about a week ago. My hair was

gorgeous but I wasn't able to get my hair really clean and developed some crazy dandruff which


31
   https://www.abcactionnews.com/news/national/florida-hairstylist-among-customers-claiming-devacurl-
products-caused-serious-damage
32
   https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/m-p/2411473
                                           Page 16 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 17 of 41 PageID: 17



I've NEVER had a problem with before. I also noticed that I was shedding more hair than I was

used to and that my hair seemed to be thinning a little. The shedding seem to get worse and that

is the main reason that I stopped using it. When I switched back to Ogx coconut curls I was no

longer shedding like crazy. Has anyone else had either of these issues while on these products?”

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on December, 4, 2019: “I had long hair to my belly button and after switching

everything to deva curl I was in denial of my hair loss until my hairdresser pointed out how my

hair was shedding super bad and how it was thinking out. It’s been a couple months now and my

hair is getting back to normal. Devacurl didn’t work for me and now I’m dealing with the issues

it caused. I would just cry because my hair was falling out in big clumps!! Now I just use Olaplex

for most my hair needs. Olaplex #3 has been helping with the bonding of my hair. I feel so sad

you had to go through this as well.”

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on November, 4, 2019: “The same thing happened to me a couple of years ago.

I went to a Deva salon in Nashville, TN. After my appointment I purchased the product line that

was used. From my 1st time using it at home my hair began shedding in large clumps. I tried it

one more wash day and the same thing happened. Once I stopped using the products the clumps

of hair ceased from falling out. I informed my stylist at the salon and she told one of the Level 3

stylists who has done my hair there before too. Both said they had never heard of what I had

experienced. Of course I'm thinking if the large clumps of hair that came out were that noticeable

to me that they had to have seen it when they did my hair.”

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on November, 7, 2019: “This is crazy reading these posts! I went “no poo”


                                          Page 17 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 18 of 41 PageID: 18



over 10 years ago and hit the curly girl method HARD! Used all DC products and my hair was

ridiculously gorgeous. I’m a redhead and typically shed a lot so I didn’t really think too much

about it but I remember thinking damn this is a lot! My stylist at the time commented on increased

shedding but just assumed it was normal. She started getting out an extra towel to wipe the hair

off her hands after washing my hair!! Gradually my hair started feeling dry and brittle, especially

after ArcAngel and whatever the deep conditioner is. I started using new products and once I got

rid of all DC products my hair was soft and happy again. Lesson learned!

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on November, 6, 2019: “Hi - so glad I found your post and many others about

how Deva Curl products ruined my hair !! First it looked good but within 4 months of use my

hair became dry , brittle , broom like and was falling out !! I thought something was wrong with

my health and started taking hair & skin vitamins and complained to the hair dresser who

recommended deva curl to me . She had no idea it was the product that is absolutely horrible!! I

spent over $100 on all the products and am now very upset trying to repair my hair ! If anyone

has a shampoo they recommend let me know . For now I’m going back to using Quidad and

praying my hair grows back thick again & my curls come back . Good luck to you & everyone

out there who experienced what I did - I wish we could all sue them !!!”

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on November, 8, 2019: “Me too! I thought it was menopause but it's Deva Curl

products! There's a Facebook group about the issue too. I've emailed Deva Curl to return my

products for a refund. Hope they will be responsible enough to do at least a refund. Horrible hair

loss! Even my daughter had horrible hair loss.




                                          Page 18 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 19 of 41 PageID: 19



        •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on September, 12, 2019: “I am mind-blown at this thread. I was alwaysss the

kid with hair so thick that hair stylists said something about it every time I had my hair cut. A

year ago I noticed hair loss starting. And a year ago I started Deva Curl styling products. I don't

use their hair washing products. In June, I got my first Deva cut and she told me I have thin hair,

and that was crazy to hear. It's now to the point that I have super thin areas on each side of my

forehead, which made me go to the doctor. I had my hormones checked and all kinds of other

blood work done, and it's all normal. I put the thoughts together and realized the hair loss started

the same time I started Deva products. Then I found this thread. I am switching ASAP. Please, if

anyone knows of cruelty-free products that give poofy, frizzy, curly hair definition and frizz

control, help a girl out!!

and Deva Curl... thanks for that medical bill!”

        •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on September, 4, 2019: “Yes. I used the No Poo Shampoo and Conditioner for

two months. Every time I used these products my hair fell out in clumps during the shampoo and

conditioning process. Initially, I thought this was me loosing dead hair, but it was more than that.

I discontinued use and my hair slowed down dramatically in falling out. I’ve continued to use the

styling products, but I’m questioning this now. Some days my hair looks amazing, and other days

these products make my hair look terrible (i.e. stringy, frizzy, broomstick dry, distorted curl

patterns). I don’t have heat damage because I love wearing my hair flowy and curly, so it’s not

that. I’m very confused by these experiences! Overall, I’m not convinced it’s worth the money.

I’ve been reading about other women who’ve had similar experiences, which is alarming. I hope

all of us continue to share. Granted, there are pros to the styling products, but the cons are pushing


                                           Page 19 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 20 of 41 PageID: 20



me away. I’ve watched the videos on how to use the products and I’m skilled at styling my hair,

but all of this isn’t adding up for me. I hope this helps!”

        •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on August, 15, 2019: “I have had the exact same issues. When I started doing

the curly girl process i lost a lost of hair, but I had not 'molted' for a while, so I wrote this off. I

have continued to see molting and a lot of breakage as well, tho. The more concerning issue was

the extreme itching and what was almost like flaky acne. Bumps on my scalp that hurt and itched.

I have found that the Arc Angel gel is the worst offender and now that I have stopped using that

it has gotten a lot better. The products make my hair look great, but I wish I knew what ingredient

was causing this issue. Spent SO MUCH MONEY on these products and am not excited about

buying more products that may have the same stuff in them that will cause the same issue.”

        •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on August, 13, 2019: “I had the same reaction, I never really had dandruff until

using devacurl. I bought the shampoo & conditioner & didn’t finish either. My head was super

itchy along with dandruff & hair-loss. It did make my hair a little curlier but overall I thinks it’s

a terrible product.”

        •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on May, 19, 2019: “Yes! My hair is thin, fine, frizzy, and curly. Deva curl took

half of the little bit of hair I had! I'm so upset! I finally grew my hair long. And now I have to

crop it!”

        •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on August, 12, 2019: “Hi, just wanted to let you know you are not alone! Other

men and woman have had the same results from using Deva Curl products in this last years


                                            Page 20 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 21 of 41 PageID: 21



specially in 2019 which the major complaints are excessive hair loss, very dry and broken hairs

and irritation. Like most people that call Deva Curl and complained they always get an answer

that puts the blame on us and never the products. We have started a support group page on

Facebook called "Hair and Scalp Issues from Deva Curl Products - You are not Alone! We hope

that you will join us and share your story so we can help many men and women around the world

to help them figure out that they are not crazy, that is not their hormones or their old age and that

there is a chance that it was their products they belived in that did this to them!”

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on April, 10, 2019: “I'm having the exact same problem right now!!!!”

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on April, 28, 2019: “Me too! I have been using the Devacurl no poo original

and one condition since Christmas. I just recently had a deva cut and purchased the products

recommended and I have been losing a lot of hair. My hair feels thinner, looks thinner, and my

hair just is not the same.”

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on March, 24, 2019: “This can’t be a coincidence. So I started using the no-

poo almost exclusively on my wash days except for once a month when I used build up buster.

Before that I alternated with the low poo Every other wash day and I never experienced shedding.

Now that I started using mostly noo poo I’m seeing crazy shedding and breaking. I just switched

to Oidad VitalCurl and can’t report on results but first impressions my scalp feels clean and my

hair looks nice. I also read online that noo-poo in hard water areas can cause PH imbalances in

the hair, which can lead to shedding. I know I have hard water so I’m hoping by using new brands

I’ll be able to use DevaCurl again someday because for the first 2 years it was great.”


                                           Page 21 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 22 of 41 PageID: 22



       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on February, 10, 2019: “I’ve used DivaCurl for a while and wonder now if it’s

making my hair thin out. It may be because I’m an little older, but I never had a problem before.

The no-poo option works well for me because sulfates dry out my hair really bad. I think I’ll

switch over to Carol’s Daughter, Mixed Chicks, or Shea Moisture to see what happens”

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on February, 7, 2019: “I finally had to stop using their products, which broke

my heart because they made my hair so beautiful...I really loved my unruly, curly, red Irish hair

for the first time ever. I used it for probably two years. I started noticing my hair thinning, which

was disturbing because I have always had extremely thick hair. Finally, I couldn't ignore it

anymore this year when I could see through to my scalp, and I looked balding when my hair was

wet. My ponytail is barely anything now, and my long hair (which I took such a long time to grow

and care for) is limp and straggly looking when I don't take great care to fluff it up with thickening

products. I was losing clumps of hair not just in the shower (where I would find whole chunks

wrapped around my hands), but all over my bathroom floor, my bed, my couch...literally

anywhere I had been, there was hair to clean up. . Horrifying at any age, and especially in your

mid twenties. I have also developed very sensitive spots on my scalp, where I feel "pinpricks" in

the front whenever wearing a ponytail (no matter how loose it is).

I finally saw a dermatologist that specialized in women's hair loss. She agreed I had hair loss, but

could not give a definitive answer as to why and started me on spironolactone to suppress any

excess androgen (although my hormone levels were tested and found to be normal). Around the

same time I switched from Deva products to more generic (but curly-girl friendly) products. After

a couple months, I started to notice I had probably 1/5 the amount of hair loss, and it finally


                                           Page 22 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 23 of 41 PageID: 23



seemed normal. No more sweeping up hair from the bathroom floor every single day.

I was able to purchase the Deva gel again (the one I had been using in the interim shaped my curls

nicely, but left it too frizzy and they fell out quickly). Each time I use this, I am right back to

crazy clumps of hair in the shower and on the floor again. I realized something in the Devacurl

*has* to be contributing to my hair loss over the last two years, and especially the last year before

I finally got medical help. I don't know if it's an allergy or what, I have no known problems. But

it's sort of a relief to see other people reporting these problems, too.

If anyone has recommendations for products with similar hold and frizz-taming capability, I really

miss loving my hair. It used to be my proudest feature (after a lifetime of hating and fighting it),

and now I feel like it's something I dislike about myself again.”

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on December, 1, 2017: “I'm having the same experience with DevaCurl o

Decadence. It does an incredible job of detangling but I'm losing my hair. The folks here saying

this is about perception don't get it. I started using this about two years ago and wasn't attributing

it to the product because it was happening before that - from my attempts to detangle it. The

devacurl worked for awhile, but then recently, and particularly in the last few months, my hair

has been coming out in small clumps, from the root whenever I use it. I notice it because I've been

washing and conditioning more regularly for a newer style. It doesn't happen when I use other

conditioners, and I know the difference because when I would go back to the Decadence (for the

detangling) my hair would be coming out in clumps in my hands. Also, when so many people are

saying the same thing, clearly there is an issue, so it's not just about our perception. I'm done with

this product. If anyone has any detangling recommendations - not just products, but techniques

too, I'm happy for them.”



                                            Page 23 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 24 of 41 PageID: 24



        •           https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on April, 5, 2019: “Good morning, I could do, use your help. I'm going through

the exact same thing. Except, I have never used this product. I was just wondering if you ever

found a solution to your hair loss?”

        •           https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on October, 17, 2019: “The same thing happened to me. Hair loss in Clumps,

scalp irritation, and very noticeable loss in volume. I can see my scalp now. I feel like crying

knowing that I have an entire box of products to throw away that cost me $100's. I'm terrified

now of this happening with other "reputable" distributors. I can't believe this. It has really hit my

self-esteem hard and my faith in curl brands.

        •           https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on February, 2, 2017: “I have been using this for a few months and I have lost

TONS of hair, I even went to get my hormones checked, they were on point!! I have lost so much

it's noticeable and looking completely different including parting all over... very unhappy and

nervous , I am going to stop using it and see if it make a difference!

        •           https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on August, 24, 2018: “My hair was so thick and it grew, I kid you not, nearly

3 inches a month. I measured. And I cut 6 inches off my very long hair to see if it would help

curls form when I switched to Deva Curl. Well... after almost 2 months, my hair had gotten

shorter. The breakage is horrible and it’s falling out in clumps! Not just in the shower either!

I don’t dye my hair, I don’t use any heat on it at all, and I don’t use any product except the wave

maker       stuff    from   Deva    Curl.   So   it   had    to   be   switching   to   Deva   Curl.

I also only wash my hair once a week. So I know i’m not over washing it.


                                             Page 24 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 25 of 41 PageID: 25



I was also using the buildup buster every 2 washes.

I am nearly in tears from how much hair it caused me to lose.

I’m going back to Lush ASAP. I’ll never switch from Lush again. No matter what hair products

I      use   from   there,   my     hair    stays    beautiful,    thick,   and    fast     growing!

I had to get supplements just to get my hair to start growing again... unfortunately my nails were

still growing fast and strong. So I’m having to trim them 3 times a week. Ugh.

Don’t let anyone talk you into sticking with Deva Curl! If you get a feeling that it’s messing your

hair up, STOP! I wish I would have after hair started coming out the first shower... but I thought

it was just because it wasn’t as easy to work through my hair as my Lush products were. I’m

heartbroken you guys.”

         •      https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on September, 22, 2016: “Wow! You lasted longer than me. I find Deva Curl

to be too heavy for the hairstyle I want. Also, couldn't get my scalp clean with it. It used to cause

oily                                                                                           spots.

I feel that hair sheds everyday. You just notice it a lot more during shampoo'ing. Some people are

not washing their hair for days so then it may seem like a lot of hair shedding at once.”

         •      https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on May, 2, 2019: “Me too I have never had thin hair its so thin and limp and

disgusting. Im so sad”

         •      https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on September, 22, 2016: “I feel like i have been loosing a lot of hair. I notice

its thinner. When i use my no poo shampoo and conditioner, tons of hair comes out. I am curious




                                           Page 25 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 26 of 41 PageID: 26



too if thats the problem. For now i am going to use my shea moisture shampoo and conditioner

to see if shedding slacks off.

       •       https://community.sephora.com/t5/Best-Hair-Ever/DevaCurl-Issues/td-

p/2411473 posted on February, 7, 2018: “I use every three days and my hair is shedding REALLY

bad”

       •       https://curltalk.naturallycurly.com/discussion/136936/help-losing-hair-using-

deva-products on December 2011: “A gal in my office and I are both losing handfuls of hair when

using these products and I wasn't sure if it's the Deva products or the CG method in general

causing the issue. I am a fine porous 3a / 3b and my friend has course 4a thick hair. Thanks!”

       •       https://curltalk.naturallycurly.com/discussion/136936/help-losing-hair-using-

deva-products on November 2013: “it happens to me, too. I'm using Deva Products, and for the

last 3 months, I'm losing hair handful after handful!”

       •       https://curltalk.naturallycurly.com/discussion/136936/help-losing-hair-using-

deva-products on November 2013: “It happened to me using the no poo, because of the wheat

protein (I'm a gluten free gal). Can't say that this would be the same case for you. Try switching

up your products to see if it still happens. I used their low poo and one condition without any

problems.”

       •       https://curltalk.naturallycurly.com/discussion/136936/help-losing-hair-using-

deva-products on March 2014: “I've been experiencing this also! I'm a little freaked out as I'm

getting married in September, and I'm afraid I won't have any hair left by then!

I've been using CG method for about 3 years. Was using WEN but found it to be too expensive

to keep up. I switched to Deva about a year ago. I've been using Lo-Poo once a week, then One

condition and styling cream every other day. Lately, I've been taking gobs of hair out of the


                                          Page 26 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 27 of 41 PageID: 27



shower drain. I haven't changed meds, or anything else that I can think of, so I'm wondering what's

going on.

I'd make a switch to something else, but I want to be sure I'm still 100% sulfate and silicone free.

Any suggestions?”

       •       https://curltalk.naturallycurly.com/discussion/136936/help-losing-hair-using-

deva-products on March 2014: “Thanks! A quick observation this morning...I used Lo-Poo and

One Cond today, and just now, I found myself itching my scalp. :sad1: HHmmmmm....I wonder

how long I've been doing this subconsciously without noticing it! Even thought I only use it once

a   week,   maybe it's      the   Lo   Poo     and   not     the   One   that's   causing   the   issue.

I'm going to try KMF Whenever, and also I'm reading a lot about Trader Joe's conditioners, so

that may be another option to try.”

       •       https://curltalk.naturallycurly.com/discussion/136936/help-losing-hair-using-

deva-products on May 2016 “Hey, I really appreciate your post about the problems you are having

with hair loss. I am new to the NaturallyCurly world and I am still working on being acclimated.

Anyway, I too am having a similar problem. I was using a really nice shampoo and conditioner

that had Keratin in it and I was loving it. Several months back, I saw a commercial for Wen and

thought I would give it a try. After about a month of using it, my hair started to fall out. I switched

back to a lathering shampoo until about five months ago. I went and tried a Deva Cut for the first

time and bought all of the products. As I am sure most would agree, I fell in love with the stuff.

My hair felt and looked great. Now, the ball of hair in my shower nearly doubles in size from one

day to the next. I am not sure if it isn't clearing my scalp properly or it is causing more build up

that usual but all I know is it has me concerned.

I also had some itching when I first started using the products. That had me concerned but it went


                                             Page 27 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 28 of 41 PageID: 28



away after I started to use the products regularly. I have been a Ouidad girl from about 20 years,

give or take, and I just started to try new things. After this experience, I am not sure what to do.

I am taking a break from Deva Curl for a little while and I will go back to my out routine and see

if I notice a difference. I really think that is the only way to tell.

I'm not sure what it is worth but I was using shampoo and conditioner by OGX called Brazilian

Keratin Therapy. It was designed for women who get Brazilian Keratin Treatments, something I

fell victim too as well. At any rate, it works beautifully in conjunction with my Ouidad products.

I'm also not sure if my hair type has anything to do with all of this. My curls are tight and spirally.

a pencil fits inside them perfectly. My hair is very fine but I have a lot of it!”

        76.     Because of the pervasive complaints in respect to the Products, Defendant has

knowledge of the alleged defects. Indeed, in January, Defendant issued a public statement

acknowledging the alleged defects but refused to take responsibility for the problem and otherwise

refused to cure the alleged defects and remedy consumers.33

                                    CLASS ACTION ALLEGATIONS

        77.     Plaintiff brings this action individually and as a representative of all those similarly

situated, pursuant to Federal Rule of Civil Procedure 23, on behalf of the below-defined Class:

        New Jersey Class: All persons in New Jersey who, during the maximum period

        permitted by the law, purchased the Products from a third-party retailer,

        including web retailers, for personal, family, or household use and not for

        resale (the “Class”).

        78.     Specifically excluded from these definitions are (1) any and all persons who

purchased the Products directly from Defendant; (2) Defendant, any entity in which Defendant has


33
  https://www.abcactionnews.com/news/national/florida-hairstylist-among-customers-claiming-devacurl-
products-caused-serious-damage
                                             Page 28 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 29 of 41 PageID: 29



a controlling interest, and its legal representatives, officers, directors, employees, assigns and

successors; (3) the Judge to whom this case is assigned and any member of the Judge’s staff or

immediate family; and (4) Class Counsel.

       79.     As used herein, “Class Members” shall mean and refer to the members of the Class,

including Plaintiff.

       80.     Plaintiff seeks only damages and equitable relief on behalf of herself and the Class

Members. Plaintiff disclaims any intent or right to seek any recovery in this action for personal

injuries, wrongful death, or emotional distress suffered by Plaintiff and/or the Class Members.

       81.     Numerosity: Although the exact number of Class Members is uncertain at this time

and can only be ascertained through discovery, the number is great enough such that joinder is

impracticable and likely in the thousands. The disposition of the claims of these Class Members

in a single action will provide substantial benefits to all parties and to the Court.

       82.     Typicality: The claims of the representative Plaintiff are typical in that Plaintiff,

like all Class Members, purchased the Products that were manufactured and distributed by

Defendant. Plaintiff, like all Class Members, has been damaged by Defendant’s misconduct in

that, inter alia, she has incurred or will continue to incur damage as a result of overpaying for a

product that causes scalp irritation, excessive shedding, hair loss, thinning, breakage, and/or

balding in contravention of Defendant’s representations as stated above. Furthermore, the factual

basis of Defendant’s misconduct is common to all Class Members because Defendant has engaged

in a systematic fraudulent behavior, that was deliberate, includes negligent misconduct, and results

in the same injury to all Class Members.




                                            Page 29 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 30 of 41 PageID: 30



       83.     Commonality: Plaintiff has numerous questions of law and fact common to herself

and Class Members that predominate over any individualized questions. These common legal and

factual issues include:

                   a. Whether the Products are defective such that they cause hair loss, scalp

                          irritation or balding;

                   b. Whether and when Defendant had exclusive knowledge that the Products

                          are defective but failed to disclose the defect to the public;

                   c. Whether the Products provide the benefits claimed by Defendant on the

                          labeling, packaging, and/or in the course of its marketing;

                   d. Whether Defendant’s conduct violated the NJCFA invoked herein;

                   e. Whether Defendant’s conduct constituted a breach of applicable warranties;

                   f. Whether Defendant engaged in unfair, deceptive, unlawful and/or

                          fraudulent acts or practices in trade or commerce by objectively misleading

                          Plaintiff and putative Class members;

                   g. Whether Defendant’s conduct, as alleged herein, was likely to mislead a

                          reasonable consumer;

                   h. Whether Defendant’s statements, concealments and omissions regarding

                          the Products were material, in that a reasonable consumer could consider

                          them important in purchasing the Products;

                   i. Whether, as a result of Defendant’s omissions and/or misrepresentations of

                          material facts, Plaintiff and members of the Class have suffered an

                          ascertainable loss of monies and/or property and/or value; and




                                              Page 30 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 31 of 41 PageID: 31



                   j. Whether Plaintiff and Class members are entitled to monetary damages,

                       injunctive relief, and/or other remedies and, if so, the nature of any such

                       relief.

       84.      Adequate Representation: Plaintiff will fairly and adequately protect the interests

of Class Members. Plaintiff has retained attorneys experienced in the prosecution of class actions,

including consumer and product defect class actions, and Plaintiff intends to prosecute this action

vigorously.

       85.      Predominance and Superiority: Plaintiff and Class Members have all suffered and

will continue to suffer harm and damages as a result of Defendant's unlawful and wrongful

conduct. A class action is superior to other available methods for the fair and efficient adjudication

of the controversy. Absent a class action, Class Members would likely find the cost of litigating

their claims prohibitively high and would therefore have no effective remedy at law. Because of

the relatively small size of Class Members' individual claims, it is likely that few Class Members

could afford to seek legal redress for Defendant's misconduct. Absent a class action, Class

Members will continue to incur damages, and Defendant's misconduct will continue without

remedy. Class treatment of common questions of law and fact would also be a superior method to

multiple individual actions or piecemeal litigation in that class treatment will conserve the

resources of the courts and the litigants and will promote consistency and efficiency of

adjudication.

       86.      Defendant has acted or refused to act on grounds generally applicable to the Class,

thereby making appropriate final injunctive relief or corresponding declaratory relief with respect

to the Class appropriate.




                                           Page 31 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 32 of 41 PageID: 32



                                               COUNT 1

                               BREACH OF EXPRESS WARRANTY

                                (On Behalf of The New Jersey Class)

          87.     Plaintiff brings this count on behalf of herself and the Class and repeats and re-

alleges paragraphs 1-86, as if fully included herein.

          88.     Defendant sold and Plaintiff purchased the Products from authorized resellers of

Defendant’s products.

          89.     Defendant represented in its marketing, advertising, and promotion of the Products

that the Products promote healthy hair, and are “free of harsh ingredients,” “made with nourishing,

hydrating ingredients,” “free of sulfates, parabens, and silicons to gently cleanse curls,” sourced

from “the highest-quality, good-for-you ingredients from around the world” and that they give

“your curls what they need and nothing they don't.”34

          90.     Defendant also advertises, markets, and promotes its Products, including but not

limited to on its website, as coming with a “satisfaction guarantee,” which states that if a

consumer/purchaser is not “completely satisfied with a DevaCurl product that you purchased from

us or one of our authorized resellers” “for any reason,” Defendant will allow for a return and

provide a full refund of the purchase price.35

          91.     Defendant made these representations to specifically induce Plaintiff and Class

Members to purchase the Products.

          92.     Defendant’s representations that the Products constituted part of the basis of the

bargain between Defendant and Plaintiff (and Class Members).




34
     https://www.devacurl.com/us/curl-101/product-philosophy
35
     https://www.devacurl.com/us/faq#shipping
                                             Page 32 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 33 of 41 PageID: 33



          93.    Each of these representations and the complete satisfaction guarantee constitutes

an express written warranty.

          94.    Defendant breached its express warranties because the Products suffer from a latent

and/or inherent defect that causes them to produce substantial hair loss and scalp irritation,

rendering the unfit for their intended use and purpose. This defect substantially impairs the use,

value and safety of the Products.

          95.    The latent and/or inherent defect at issue herein existed when the Products left

Defendant’s possession or control and was sold to Plaintiff and Class members. The defect was

undiscoverable by Plaintiff and the Class members at the time of purchase of the Products.

          96.    While Defendant expressly disavows all warranties or representations, this

disavowal is limited by its own plain language to “any products or services ordered or provided

via the [Defendant’s] website.36 None of the Products at issue in this case (including those

purchased by the Plaintiff) were products “ordered or provided via the [Defendant’s] website,”

and all persons who purchased the Products from Defendant’s website are expressly excluded from

the putative Class.

          97.    Plaintiff and the Class are entitled to bring this class action and are not required to

give Defendant notice and an opportunity to cure until such time as the Court determines the

representative capacity of Plaintiff and the Class pursuant to Rule 23 of the Federal Rules of Civil

Procedure.

          98.    Furthermore, affording Defendant an opportunity to cure its breach of written

warranties would be unnecessary and futile here. Defendant was placed on reasonable notice of

the defect in the Products and breach of the warranties based on numerous complaints received



36
     https://www.devacurl.com/us/terms-conditions
                                             Page 33 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 34 of 41 PageID: 34



directly and indirectly from Plaintiff and the Class, including without limitation multiple

complaints to the FDA beginning in February 2018, and have had ample opportunity to cure the

defect for Plaintiff and the Class, but have failed to do so, instead denying the claims and putting

out public statements denying that there are any issues with the Products.37                Under the

circumstances, the remedies available under any informal settlement procedure would be

inadequate and any requirement that Plaintiff and the Class resort to an informal dispute resolution

procedure and/or afford Defendant a reasonable opportunity to cure the breach of warranty is

excused and thereby deemed satisfied.

          99.    While notice is not required (for the reasons set forth above), Plaintiff, concurrently

with the filing of this Complaint, sent a letter to Defendant giving notice of its violations of its

express and implied warranties and demanding that Defendant correct such violations.

          100.   As a direct and proximate result of Defendant's breaches of these express

warranties, Plaintiff and Class Members have been damaged because they did not receive the

products as specifically warranted by Defendant. Plaintiff also paid a premium for Defendant’s

Products that did not conform to Defendant’s express warranties.

                                                  COUNT 2

                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

                                   (On Behalf of The New Jersey Class)

          101.   Plaintiff brings this count on behalf of herself and the Class and repeats and re-

alleges paragraphs 1-86, as if fully included herein.




37
     https://www.devacurl.com/us/deva-community-statement


                                             Page 34 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 35 of 41 PageID: 35



       102.    Defendant is a “merchant” within the meaning of the UCC because it deals in the

sale of the Products and holds itself out as “having knowledge or skill peculiar to” haircare

products such as the Products at issue.

       103.    Defendant sold and Plaintiff purchased the Products from authorized resellers of

Defendant’s products.

       104.    By placing such products into the stream of commerce, Defendant impliedly

warranted to Plaintiff and Class members that the Products were of merchantable quality (i.e., a

product of a high enough quality to make it fit for sale, usable for the purpose it was made, of

average worth in the marketplace, or not broken, unworkable, contaminated or flawed or

containing a defect affecting the safety of the product), would pass without objection in the

trade or business, and were free from material defects, and reasonably fit for the use for which

they were intended.

       105.    Defendant breached the implied warranty of merchantability because the Products

suffer from a latent and/or inherent defect that causes them to produce substantial hair loss and

scalp irritation, rendering the unfit for their intended use and purpose. This defect substantially

impairs the use, value and safety of the Products.

       106.    The latent and/or inherent defect at issue herein existed when the Products left

Defendant’s possession or control and was sold to Plaintiff and Class members. The defect was

undiscoverable by Plaintiff and the Class members at the time of purchase of the Products.

       107.    Defendant has misled consumers into believing the Products were “Sulfate Free,”

that they are used to “gently cleanse,” that they are not “harsh” or made with “harsh ingredients,”

and that hair loss and shedding (even excessive shedding) was “common,” “normal,” and “not

preventable.” Defendant took advantage of Plaintiff’s and the Classes’ trust and confidence in its



                                          Page 35 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 36 of 41 PageID: 36



brand, and deceptively sold the Products, knowing that they caused hair loss, shedding, and scalp

irritation.

        108.   Defendant’s intended beneficiaries of these implied warranties were ultimately

Plaintiff and the Class, not distributors who sold the Products. Moreover, Defendant exercises

substantial control over which outlets can carry and sell the Products, which are the same places

that Plaintiff purchased them. In addition, Defendant’s warranties are in no way designed to apply

to the distributors that purchase the Products in bulk and then sell them on an individual basis to

each consumer. Individual consumers are the ones who ultimately review the labels, which

Defendant knows, prior to making any purchasing decisions. As a result, these warranties are

specifically designed to benefit the individual consumer who purchases the Products.

        109.   Plaintiff and Class Members sustained damages as a direct and proximate result of

Defendant’s breaches in that they paid a premium for the Products that they would not have

otherwise paid. Plaintiff and the Class also did not receive the value of the Product they paid for—

the Products are worthless or worth far less than Defendant represents due to the latent and/or

inherent defect that causes hair loss and scalp irritation.

        110.   Plaintiff and the Class have sustained, are sustaining, and will sustain damages if

Defendant continues to engage in such deceptive, unfair, and unreasonable practices.

        111.   Accordingly, Plaintiff is entitled to injunctive relief, attorneys’ fees and costs, and

any other relief that the Court deems just and equitable.

        112.   As a result of the breach of the implied warranty of merchantability, Plaintiff and

Class members are entitled to legal and equitable relief including damages, costs, attorneys’ fees,

rescission, and/or other relief as deemed appropriate, for an amount to compensate them for not

receiving the benefit of their bargain.



                                            Page 36 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 37 of 41 PageID: 37



                                               COUNT 3

                                      UNJUST ENRICHMENT

                                (On Behalf of The New Jersey Class
                                and in the Alternative to Counts 1-2)

          113.    Plaintiff brings this count on behalf of herself and the Class and repeats and re-

alleges paragraphs 1-86, as if fully included herein.

          114.    According to Defendant’s website, New York law applies to all claims.38

          115.    Plaintiff conferred benefits on Defendant by purchasing the Products at a premium

price.

          116.    Defendant has knowledge of such benefits.

          117.    Defendant has been unjustly enriched in retaining the revenues derived from

Plaintiff’s and Class Members’ purchases of the Products, because the Defendant will obtain the

benefits conferred by Plaintiff and the Class Members without adequately compensating Plaintiff

and the Class Members therefore. Defendant failed to adequately compensate the Plaintiff for the

benefits conferred by providing the Products without those products having the characteristics and

benefits promised.

          118.    Retention of those moneys under these circumstances is unjust and inequitable

because (a) Defendant falsely and misleadingly represented that the Products promoted healthy

hair, were “Sulfate Free,” that they are used to “gently cleanse,” that they are not “harsh” or made

with “harsh ingredients,” and that hair loss and shedding (even excessive shedding) was

“common,” “normal,” and “not preventable.” (b) Plaintiff paid a price premium for the Products

based on Defendant’s false and misleading statements; and (c) the Products did not have the




38
     https://www.devacurl.com/us/terms-conditions
                                             Page 37 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 38 of 41 PageID: 38



characteristics and benefits promised because of the latent and/or inherent defect that causes hair

loss and scalp irritation.

        119.    This has resulted in injuries to Plaintiff and members of the Class because they

would not have purchased (or paid a price premium) for the Products had they known of the latent

and/or inherent defect that causes hair loss and scalp irritation in Defendant’s Products.

        120.    Because Defendant's retention of the non-gratuitous benefits conferred on it by

Plaintiff and members of the Class is unjust and inequitable, and because equity and good

conscience requires restitution, Defendant must pay restitution to Plaintiff and members of the

Class for its unjust enrichment, as ordered by the Court.


                                            COUNT 4

               VIOLATIONS OF THE NEW JERSEY CONSUMER FRAUD ACT
                              (N.J.S.A. § 56:8-1, et seq.)

                             (On Behalf Of The New Jersey Class)

        121.    Plaintiff brings this count on behalf of herself and the Class and repeats and re-

alleges paragraphs 1-86, as if fully included herein.

        122.    Plaintiff and Defendant are “persons” within the meaning of the New Jersey

Consumer Fraud Act (“CFA”).

        123.    Plaintiff and the Members of the Class are “consumers” within the meaning of the

CFA.

        124.    At all relevant times material hereto, Defendant conducted trade and commerce in

New Jersey and elsewhere within the meaning of the CFA.

        125.    The CFA is, by its terms, a cumulative remedy, such that remedies under its

provisions can be awarded in addition to those provided under separate statutory schemes.



                                           Page 38 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 39 of 41 PageID: 39



        126.    Defendant’s practices violated the CFA for, inter alia, one or more of the following

reasons:

        a.      Defendant represented to Plaintiff and the Class that the Products had approval or

        characteristics that it did not have;

        b.      Defendant represented to Plaintiff and the Class that the Products were of a

        particular standard, quality, or grade when it was actually of another;

        c.      Defendant advertised to Plaintiff and the Class goods with intent not to sell them

        as advertised;

        d.      Defendant engaged in other fraudulent or deceptive conduct creating a likelihood

        of confusion or misunderstanding; and

        e.      Defendant represented that consumers’ purchases of the Products conferred or

        involved rights that the transactions did not have or involve.

        127.    Defendant consciously omitted to disclose material facts to Plaintiff and the Class

with respect to the Products.

        128.    Defendant intended that Plaintiff and Class rely on its acts of concealment and

omissions and misrepresentations, so that Plaintiff and the Class would purchase the Products.

        129.    Had Defendant disclosed all material information regarding the Products to

Plaintiff and the Class, they would not have purchased the Products, or would have paid less for

the Products.

        130.    The foregoing acts, omissions and practices proximately caused Plaintiff and the

Class to suffer an ascertainable loss in the form of monetary damages, and they are entitled to

recover such damages, together with appropriate penalties, including treble damages, attorneys’

fees and costs of suit.



                                            Page 39 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 40 of 41 PageID: 40




                                     RELIEF DEMANDED

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

a judgment against Defendant, as follows:

       a. For an order certifying the Class under Rule 23 of the Federal Rules of Civil Procedure

          and naming Plaintiff as representative of the Class and Plaintiff’s attorneys as Class

          Counsel;

       b. For an order declaring that Defendant’s conduct violates the statutes referenced herein;

       c. For an order finding in favor of Plaintiff and the Class on all counts asserted herein;

       d. For compensatory, statutory, and punitive damages in amounts to be determined by the

          Court and/or jury;

       e. For prejudgment interest on all amounts awarded;

       f. For an order of restitution and all other forms of equitable monetary relief;

       g. For injunctive relief as pled or as the Court may deem proper; and

       h. For an order awarding Plaintiff and the Class their reasonable attorneys’ fees and

          expenses and costs of suit.

                                  JURY TRIAL DEMANDED

     Plaintiff demands a trial by jury on all claims so triable.




                                           Page 40 of 41
Case 2:20-cv-02318-BRM-JAD Document 1 Filed 03/03/20 Page 41 of 41 PageID: 41



 Dated: March 3, 2020                      Respectfully submitted,

                                            /s/ Jonathan Shub
                                           Jonathan Shub (Attorney ID # 3784
                                           Kevin Laukaitis*
                                           KOHN, SWIFT & GRAF, P.C.
                                           1600 Market Street
                                           Suite 2500
                                           Philadelphia, PA 19103
                                           Tel: (215) 238-1700
                                           Fax: (215) 238-1968
                                           Email: jshub@kohnswift.com
                                                    klaukaitis@kohnswift.com

                                           *Pro Hac Vice to be filed

                                           Attorneys for Plaintiff and
                                           the Proposed Classes




                                 Page 41 of 41
